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 1   Krista M. Enns (CA 206430)
     Benesch, Friedlander, Coplan & Aronoff LLP
 2   100 Pine Street, Suite 3100
 3   San Francisco, California 94111
     Telephone: 628.600.2250
 4   Facsimile: 628.221.5828
     kenns@beneschlaw.com
 5
     Nicholas J. Secco (pro hac vice)
 6   Benesch, Friedlander, Coplan & Aronoff LLP
 7   71 South Wacker Drive, Suite 1600
     Chicago, Illinois 60606
 8   Telephone: 312.212.4949
     nsecco@beneschlaw.com
 9
     Attorneys for Defendants SmileDirectClub,
10
     LLC, SDC Financial LLC, SmileDirectClub,
11   Inc., David Katzman, Steven Katzman,
     Jeffrey Sulitzer, Sulitzer Professional
12   Corporation, Alex Fenkell, Jordan Katzman,
     and Camelot Venture Group
13
                              IN THE UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
      ALIGN TECHNOLOGY, INC.,                     Case No. 23-cv-00023-EMC
16
                           Plaintiff,             STIPULATION AND [PROPOSED] ORDER
17                                                CONTINUING INITIAL CASE
18           v.                                   MANAGEMENT CONFERENCE 2 WEEKS

19    SMILEDIRECTCLUB, LLC; SDC
      FINANCIAL LLC; SMILEDIRECTCLUB,
20    INC; DAVID KATZMAN; STEVEN
      KATZMAN; JEFFREY SULITZER;
21    SULITZER PROFESSIONAL
      CORPORATION; ALEX FENKELL;
22    JORDAN KATZMAN; CAMELOT
23    VENTURE GROUP,

24                         Defendants.

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                                STIPULATION AND [PROPOSED] ORDER
                     CONTINUING INITIAL CASE MANAGEMENT CONFERENCE 2 WEEKS
                                       Case No. 23-cv-00023-EMC
              Case 3:23-cv-00023-EMC Document 81 Filed 04/25/23 Page 2 of 3




 1                               STIPULATION AND [PROPOSED] ORDER
 2          Defendants SmileDirectClub, LLC; SDC Financial, LLC; SmileDirectClub, Inc.; David Katzman;
 3   Steven Katzman; Jeffrey Sulitzer; Jeffrey Sulitzer, DMD, Professional Corporation; Alex Fenkell;
 4   Jordan Katzman; and Camelot Venture Group (“Defendants”), on the one hand, and Plaintiff Align
 5   Technology, Inc. (“Align”), on the other hand, by and through their undersigned counsel, hereby stipulate
 6   and agree as follows, subject to order of the Court:
 7          WHEREAS, Defendants’ motions to dismiss the Complaint (Dkts. 50, 51) are scheduled to be
 8   heard on May 4, 2023;
 9          WHEREAS, the Joint Case Management Statement is due by May 2, 2023 (Dkt. 42);
10          WHEREAS, the Initial Case Management Conference is set for May 9, 2023 (Dkt. 42);
11          WHEREAS, the Court’s guidance on and/or resolution of the Defendants’ motion to dismiss could
12   impact the parties’ positions, and, thus, the contents of the Joint Case Management Statement and what
13   will be discussed at the Initial Case Management Conference;
14          WHEREAS, to conserve the parties’ and the Court’s resources, the parties agree that the Court
15   should continue the Initial Case Management Conference by two weeks to May 23, 2023, which would
16   make the Joint Case Management Statement due by May 16, 2023;
17          IT IS HEREBY STIPULATED AND AGREED by the parties, subject to approval by the Court,
18   that the May 9, 2023 Initial Case Management Conference be continued to May 23, 2023, with the
19   deadline to file Joint Case Management Statement continued from May 2, 2023 to May 16, 2023.
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21    Dated: April 25, 2023                                     Respectfully submitted,
22    By: s/ Jameson Jones                                      By: s/ Krista M. Enns
          Jameson Jones (pro hac vice)                              KRISTA M. ENNS (CA 206430)
23        BARTLIT BECK LLP                                          BENESCH, FRIEDLANDER, COPLAN &
24                                                                  ARONOFF LLP

25        Attorneys for Plaintiff, Align Technology,                Attorneys for Defendants SmileDirectClub,
          Inc.                                                      LLC, et al.
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                                  STIPULATION AND [PROPOSED] ORDER
                       CONTINUING INITIAL CASE MANAGEMENT CONFERENCE 2 WEEKS
                                         Case No. 23-cv-00023-EMC
              Case 3:23-cv-00023-EMC Document 81 Filed 04/25/23 Page 3 of 3




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 2                                                ATTESTATION
 3          I am the ECF user filing the foregoing Stipulation and [Proposed] Order. Pursuant to Civil L.R.
 4   5-1(h)(3), I hereby attest that each of the other signatories has concurred in the filing of this document.
 5

 6   DATED: April 25, 2023
 7

 8                                                              BENESCH, FRIEDLANDER, COPLAN &
                                                                ARONOFF LLP
 9
                                                           By: s/ Krista M. Enns
10
                                                                Attorneys for Defendants
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12
                                              [PROPOSED] ORDER
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            PURSUANT TO STIPULATION, IT IS SO ORDERED.
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16                                                              EDWARD M. CHEN
                                                                United States District Judge
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                                  STIPULATION AND [PROPOSED] ORDER
                       CONTINUING INITIAL CASE MANAGEMENT CONFERENCE 2 WEEKS
                                         Case No. 23-cv-00023-EMC
